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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
v.                                              §     CRIMINAL NO: 4:19-CR-719-S2-7
                                                §
WILLIAM ANDREW DELBOY,                          §
         Defendant.                             §

                       ORDER OF FORFEITURE AT SENTENCING

       The Preliminary Order of Forfeiture, which was signed on June 10, 2021 (Document 279)

and became final as to the defendant William Andrew Delboy on the same date, is made part of

the defendant's sentence and shall be included in the judgment.

       Signed at Houston, Texas, on       ~ f'r                      , 2023.



                                                    David Hittner
                                                    United States District Judge
